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EASTERN DISTRICT OF CALIFORNIA
In re: Case No. O3~224l7-D-13L

RAFAEL SANCHEZ and
BERTHALISA SANCHEZ,

 

Debtors.
RAFAEL SANCHEZ and Adv. PrO. NO. 06-2251-D
BERTHALISA SANCHEZ,
Docket Control Nos. HM-l
Plaintiffs, and WW-lO

V.
WASHINGTON MUTUAL BANK,

Defendant.

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This memorandum decision is not approved for publication and may
not be cited except when relevant under the doctrine of law of
the case or the rules of claim preclusion or issue preclusion.
MEMORANDUM DECISION

On July 16, 2008, defendant Washington Mutual Bank filed a
Motion to Compel Further Answers to lnterrogatories, Set No. l,
as Docket Control No. HM-l (“the WAMU Motion”). On August 5,
2008, plaintiffs Rafael Sanchez and Berthalisa Sanchez filed
opposition, and on August 11, 2008, WAMU filed a reply.

Also on August 5, 2008, the plaintiffs filed Plaintiffs'
Motion to Compel Responses to Discovery and for Sanctions for
Failure to Comply With Discovery Requests, as Docket Control No.

WW-lO (“the plaintiffs’ Motion”). WAMU did not file opposition,

but instead, on August 14L 2008, filed a motion to reschedule, in

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essence seeking a continuance of the hearing on the plaintiffs'
Motion (among other things).

A hearing on the motion to reschedule was held on August 26,
2008, during which the court agreed to continue the hearings on
both motions to compel to October 14, 2008. However, the court
also advised the parties that it might make an earlier
determination that oral argument would not aid the court in
rendering its decision. The court now exercises that option, and
determines, for the reasons set forth below, that both the WAMU
Motion and the plaintiffs' Motion will be denied.

I. Standards for Meet and Confer Certification

Federal Rule of Civil Procedure 37(a)(l), made applicable in
bankruptcy adversary proceedings by Federal Rule of Bankruptcy
Procedure 7037, requires that a motion to compel discovery
“include a certification that the movant has in good faith
conferred or attempted to confer with the person or party failing
to make . . . discovery in an effort to obtain it without court
action.”

The certification requirement was described in Shuffle
Master v. Progressive Games, 170 F.R.D. 166 (D. Nev. 1996) as
comprising two elements:

[T]wo components are necessary to constitute a facially

valid motion to compel. First is the actual

certification document. The certification must

accurately”and specifically convey to the court who,

where, how, and when the respective parties attempted

to personally resolve the discovery dispute. Second is

the performance, which also has two elements. The

moving party performs, according to the federal rule,

by certifying that he or she has (1) in good faith (2)

conferred or attempted to confer. Each of these two

subcomponents must be manifested by the facts of a

particular case in order for a certification to have
efficacy and for the discovery motion to be considered.

 

 

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Shuffle Master, 170 F.R.D. at 170 (emphasis in original).

The court went further: “[A] moving party must include more
than a cursory recitation that counsel have been ‘unable to
resolve the matter.'” 170 F.R.D. at 171. Instead, counsel must
set forth

essential facts sufficient to enable the court to pass

a preliminary judgment on the adequacy and sincerity of

the good faith conferment between the parties. That

is, a certificate must include, inter alia, the names

of the parties who conferred or attempted to confer,

the manner by which they communicated, the dispute at

issue, as well as the dates, times, and results of
their discussions, if any.

“[G]ood faith cannot be shown merely through the perfunctory
parroting of statutory language on the certificate to secure
court intervention; rather [the rule] mandates a genuine attempt
to resolve the discovery dispute through non-judicial means.”
Shuffle Master, 170 F.R.D. at 171.

The Shuffle Master court held that the rule “requires a
party to have had or attempted to have had an actual meeting or
conference.” 170 F.R.D. at 171. “‘[C]onferring' under Rule
37(a)(2)(B) [now Rule 37(a)(1)] must be a personal or telephonic
consultation during which the parties engage in meaningful
negotiations or otherwise provide legal support for their
position.” 170 F.R.D. at 172. The court found that the series
of facsimile letters transmitted in that case did not satisfy the
requirement. lg.

These principles were adopted and applied in the bankruptcy

context in Leimbach v. Lane §In re Lane), 302 B.R. 75, 78-79
(Bankr. D. Idaho 2003), in which the court concluded that the

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motion to compel in that case, supported only by a letter from
the moving party’s counsel to his opponent, “[did] not comply
with the requirements of the Rule, or meet its policy and
purpose.” 302 B.R. at 79, citing Shuffle Master and Ross v.
Cj_'tif:i.nancialc InC., 203 F.R.D. 239, 240 (S.D. MiSS. 2001) [“the
requirement of a [meet and confer] certificate cannot be
satisfied by including with the motion copies of correspondence
that discuss the discovery at issue. . . . The Court is unwilling
to decipher letters between counsel to conclude that the
requirement has been met.”].

The court adopts the standards set forth in Shuffle Master,
and as applied in this case, finds that neither WAMU’s Motion nor
the plaintiffs' Motion satisfies Rule 37(a)(1).

II. The WAMU Motion

The WAMU motion was originally supported by a declaration of
David F. Anderson identifying as true and correct copies of a
series of letters between Mr. Anderson, as counsel for WAMU, and
Mark Wolff, as counsel for the plaintiffs. Copies of the letters
were filed as exhibits. The WAMU Motion itself contains this
perfunctory statement: “Meet and confer letters were thereafter
exchanged. A final meet and confer option was given by [Mr.
Anderson's] letter of June 13, 2008, No further response was
received.” WAMU Motion, 1 8.

On August 25, 2008, Mr. Anderson filed a supplemental
declaration in which he referred to and quoted from several of
those letters, and referred to a single conversation with Mr.
Wolff, which took place on August 22, 2008, over a month after

the WAMU Motion was filed.

 

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Neither the original nor the supplemental declaration nor
the two in combination qualify as an “actual certification
document” that “accurately and specifically convey[s] to the
court who, where, how, and when the respective parties attempted
to personally resolve the discovery dispute,” as the Shuffle
Master court phrased the requirement. The court will not wade
through a lengthy series of letters in order to determine whether
the parties in good faith attempted to resolve their differences;
transplanting quotations from the letters into a declaration does
not solve the problem.

Further, it appears no attempt was made to arrange a
personal or telephonic communication to meaningfully discuss the
discovery disputes. Instead, Mr. Anderson simply relied on a
series of letters in which he provided deadlines for further
responses to his discovery requests, and concluded that if such
responses were not received, he would assume that none would be
forthcoming.l

In short, the court finds that WAMU's Motion lacks the
necessary Rule 37(a)(1) certification that WAMU, as the moving
party, in good faith conferred or attempted to confer with the
plaintiffs in an effort to obtain the requested discovery without
court action.

III. The Plaintiffs' Motion
The plaintiffs' Motion, as originally filed, contains what

on its face appears to be an actual certification document, in

 

1. See, for example, Mr. Anderson's letters of April 29,
2008 and June 13, 2008, Exhibits 3 and 8 among WAMU’s exhibits
filed July 16, 2008.

 

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the form of a declaration of Mark A. Wolff, Mr. Wolff testifies
(1) that he has “in good faith conferred and attempted to confer
with WAMU, . . . through its attorneys Lawrence W. Stevens and
David Anderson,” (2) that a particular exhibit is a true and
correct copy of his letter to those gentlemen “confirming and
memorializing [their] meet and confer session held January 29,
2008,” (3) that another exhibit is a true and correct copy of a
letter to Mr. Anderson, described as “the last in a series of
correspondence and communications with WAMU and its attorneys in
attempts to obtain discovery requested,” and (4) that after the
plaintiffs' earlier motion to compel, “Plaintiffs and WAMU met at
a lengthy meet and confer session for the purpose of resolving
the then pending discovery disputes.”

The first of these statements is nothing more than the
“perfunctory parroting of the statutory language.” The second
statement refers to a meet and confer session held on January 29,
2008, well in advance of the service of many of the discovery
requests that are the subject of the plaintiffs' present Motion.
The third statement merely refers the court to a series of
otherwise unidentified “correspondence and communications.” The
fourth statement refers to a meet and confer session pertaining
to a prior discovery motion.

As with Mr. Anderson’s declarations, these statements do not
“accurately and specifically convey to the court who, where, how,
and when the respective parties attempted to personally resolve
the discovery dispute,” (Shuffle Master, 170 F.R.D. at 170) and
the court is unable “to pass a preliminary judgment on the

adequacy and sincerity of the good faith conferment.” lg. at

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171. Further the court cannot determine that the plaintiffs, as
the moving parties, or their counsel “personally engage[d] in
two-way communication with the nonresponding party to
meaningfully discuss each contested discovery dispute in a
genuine effort to avoid judicial intervention.” ld; at 171.

Like Mr. Anderson, Mr. Wolff chose to submit a supplemental
declaration. Mr. Wolff refers to two telephone conversations
with Mr. Anderson, on March 27 and April 1, 2008, and three face-
to-face meetings, on January 29, July 22, and August 19, 2008,

It appears that no effort to conduct an in-person meeting was
made between January and July, and the July 22 meeting appears to
have been accidental rather than planned.2 The August 19 meeting
came only after the plaintiffs' Motion was filed.

The court finds that Mr. Wolff’s declarations, like Mr.
Anderson's, do not constitute a sufficient Rule 37(a)(1)
certification. The court is simply unable to determine that the
moving parties in good faith engaged in meaningful negotiations
in a genuine effort to resolve the discovery dispute.

Instead, it appears to the court that the parties' letter-
writing exercise has been directed more toward hardening the
parties' positions and providing a thick stack of paper so as to
satisfy their notion of the meet and confer requirement and
thereby get their disputes before the court.

The court intends to put teeth into the meet and confer

 

2. The court also disagrees with Mr. Wolff’s
characterization of his July 17, 2008 letter as an “[invitation]
. . to further meet at a face to face meeting. ” Instead, Mr.
Wolff stated his belief that the parties' prior exchanges

constituted a sufficient meet and confer.

 

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requirement, and will not countenance game-playing or hiding the
ball. The court expects that a truly good faith meet-and-confer
will either resolve most of the issues that would otherwise give
rise to a motion to compel or significantly narrow down the
issues. If the court finds that a party has failed to attempt in
good faith to resolve its issues before seeking court
intervention, that party may expect that sanctions will be
imposed. On the other hand, if a party makes a good faith effort
to obtain discovery, but without success, and if the court grants
that party’s motion to compel, the parties may expect that
sanctions will be imposed against the party resisting the
discovery.
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For the foregoing reasons, the court concludes that neither
the WAMU Motion nor the plaintiffs' Motion contains the requisite
Rule 37(a)(1) certification, and accordingly, both motions will
be denied. The court will issue separate orders. l

Finally, pursuant to Federal Rule of Civil Procedure
37(a)(5)(B), incorporated herein by Federal Rule of Bankruptcy
Procedure 7037, the court considers whether to award costs to
either party. Because the court will deny the motions of both
parties, the court concludes that awards of attorney's fees would
simply offset each other. Thus, no such awards will be made.

Dated: September _Q/, 2008 ’£LWBM

ROBERT S. BARDWIL
United States Bankruptcy Judge

 

 

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CERTIFICATE OF MAILING

I, Andrea Lovgren, in the performance of my duties as
assistant to the Honorable Robert S. Bardwil, mailed by ordinary
mail a true copy of the attached document to each of the parties
listed below:

Attorney for Plaintiff

Mark Wolff
8861 Williamson Dr., #30
Elk Grove, CA 95624-7920

Attorney for Defendant

Lawrence Stevens
9200 Oakdale Avenue, 7th Floor
Chatsworth, CA 91311

David Anderson

Hauser & Mouses

P.O. Box 1397

Woodbridge, CA 95258-1397

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Andrea Lovgren '

 

 

 

